

Schwartz v Noll (2021 NY Slip Op 01134)





Schwartz v Noll


2021 NY Slip Op 01134


Decided on February 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 18, 2021

Before: Renwick, J.P., Kern, Singh, Shulman, JJ. 


Index No. 157548/2014 Appeal No. 13173N Case No. 2020-01205 

[*1]Lillian F. Schwartz, Plaintiff-Appellant,
vA. Michael Noll et al., Defendants-Respondents.


Laurens R. Schwartz, New York, for appellant.



Appeal from order, Supreme Court, New York County (Nancy M. Bannon, J.), entered August 27, 2019, which denied plaintiff"s motion for reargument of a proposed order to show cause to vacate prior court orders, unanimously dismissed, without costs, as taken from a nonappealable order.
No appeal lies from an order that denies reargument (D"Alessandro v Carro, 123 AD3d 1, 3 [1st Dept 2014]). No permission to appeal has been granted by this Court (see CPLR 5701[a][2]; [c]). Plaintiff"s contention that this case falls within an exception to the rule is without merit. This appeal is subject to dismissal for the additional reason
that no appeal lies from an order that declines to sign an order to show cause, which is an ex parte order that does not decide a motion made on notice (CPLR 5701[a][2]; Chi Young Lee v Osorio, 184 AD3d 417 [1st Dept 2020]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 18, 2021








